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3
                                   UNITED STATES DISTRICT COURT
4
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
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6    UNITED STATES OF AMERICA,                              1:98-CR-05183 LJO

7                            Plaintiff/Respondent,          ORDER RE DEFENDANT’S REQUEST
                                                            FOR AN ORDER TO SHOW CAUSE
8                      v.                                   (DOC. 234)

9    FRANCISCO MEDINA,

10                           Defendant/Petitioner.

11

12          On August 1, 2014, Defendant Francisco Medina filed a motion to reduce his sentence pursuant

13 to 18 U.S.C. § 3582(c)(2). Doc. 227. That motion was denied on October 8, 2014. Doc. 233. On June 4,

14 2015, Defendant filed a document entitled “Order to Show Cause” in which he requests that the United

15 States be ordered to show cause “why judgment should not be made and entered in this matter pursuant

16 to Article 78 of the civil Practice Law and rules.” Doc. 234. Defendant references a “verified petition...

17 sworn to on the 26th of March, 2015.” The Court is not in possession of any such verified petition and

18 there is no other open motion in this case over which this Court could exercise jurisdiction. Accordingly,

19 Defendant’s request for an order to show cause is DENIED.

20 IT IS SO ORDERED.

21      Dated:    June 8, 2015                               /s/ Lawrence J. O’Neill
                                                       UNITED STATES DISTRICT JUDGE
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